     Case 4:19-cv-00809-Y Document 1 Filed 10/08/19                 Page 1 of 8 PageID 1


                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF TEXAS
                               FORT WORTH DIVISION

SHANDON DEATHERAGE,                             )
                                                )
       Plaintiff,                               )
                                                )
       v.                                       )       Case No. 4:19-cv-809
                                                )
CAPITAL ONE BANK (USA), N.A.,                   )
                                                )
       Defendant.                               )

                                 PLAINTIFF’S COMPLAINT

       Plaintiff, SHANDON DEATHERAGE (“Plaintiff”), through his attorney, Agruss Law

Firm, LLC, alleges the following against Defendant, CAPITAL ONE BANK (USA), N.A.

(“Defendant”):

                                      INTRODUCTION

   1. Count I of Plaintiff’s Complaint is based on the Texas Debt Collection Act Tex. Fin. Code

       Ann. § 392, et al. (“TDCA”).

   2. Count II of Plaintiff’s Complaint is based on the Telephone Consumer Protection Act., 47

       U.S.C. § 227, et seq. (“TCPA”).

                               JURISDICTION AND VENUE

   3. Jurisdiction in this Court is proper pursuant to 28 U.S.C. § 1331 as Plaintiff’s claims arise

       under the laws of the United States.

   4. This Court has jurisdiction under 28 U.S.C. § 1367 which grants this court supplemental

       jurisdiction over the state claims contained within.

   5. This Court has federal question jurisdiction because this case arises out of violations of

       federal law. 47 U.S.C. §227(b); Mims v. Arrow Fin. Servs., LLC, 132 S. Ct. 740 (2012).

                                                1
  Case 4:19-cv-00809-Y Document 1 Filed 10/08/19                 Page 2 of 8 PageID 2


6. Defendant conducts business in Arlington, Tarrant County, Texas.

7. Venue and personal jurisdiction in this District are proper because Defendant does or

   transacts business within this District, and a material portion of the events at issue occurred

   in this District.

                                          PARTIES

8. Plaintiff is a natural person residing in Arlington, Tarrant County, Texas.

9. Plaintiff is a consumer as that term is defined by the TDCA.

10. Plaintiff is, and at all times mentioned herein, a “person” as defined by the TCPA.

11. Plaintiff allegedly owes a debt as that term is defined by the TDCA.

12. Defendant is a debt collector as that term is defined by the TDCA.

13. Defendant attempted to collect a consumer debt from Plaintiff.

14. Defendant is a business entity engaged in the collection of debt within the State of Texas.

15. Defendant is, and at all times mentioned herein, a “person” as defined by the TCPA.

16. Defendant is a national banking association with a principal place of business located in

   Glen Allen, Virginia.

17. Defendant’s business includes, but is not limited to, collecting on unpaid, outstanding

   account balances.

18. Defendant acted through its agents, employees, officers, members, directors, heirs,

   successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers.

                             FACTUAL ALLEGATIONS

19. Defendant is attempting to collect an alleged consumer debt from Plaintiff.

20. The alleged debt owed arises from transactions for personal, family, and household

   purposes.

                                              2
  Case 4:19-cv-00809-Y Document 1 Filed 10/08/19                Page 3 of 8 PageID 3


21. Within the past year of Plaintiff filing this Complaint, Defendant began calling Plaintiff

   on Plaintiff’s cellular telephone at xxx-xxx-9709 in an attempt to collect the alleged debt.

22. Defendant calls Plaintiff from 800-955-6600, which is one of Defendant’s telephone

   numbers.

23. On or around September 17, 2019, Plaintiff answered Defendant’s call spoke with one of

   Defendant’s representatives and requested for Defendant to stop calling him.

24. Despite Plaintiff’s request for Defendant to stop calling him, Defendant continued to place

   calls to Plaintiff’s telephone unabated.

25. Prior to calling Plaintiff’s cellular telephone, Defendant knew the number was a cellular

   telephone number.

26. None of the calls Defendant made to Plaintiff were for an emergency purpose.

27. All of the calls were made by Defendant’s employees or Defendant’s agents. Thus, all of

   the calls were made on behalf of Defendant.

28. All of the calls Defendant made to Plaintiff’s cellular telephone resulted in Plaintiff

   incurring a charge for incoming calls.

29. During at least one (1) conversation, Defendant learned that Plaintiff wanted Defendant to

   stop calling Plaintiff’s cellular telephone.

30. Even if at one point Defendant had prior express consent to call Plaintiff’s cellular

   telephone, Plaintiff revoked this consent as described above.

31. Within four (4) years of Plaintiff filing this Complaint, Defendant used an ATDS to call

   Plaintiff’s cellular telephone.

32. When Plaintiff answered Defendant’s calls, he was sometimes greeted with “dead air”

   whereby no person was on the other end of the line. After several seconds, an employee

                                              3
  Case 4:19-cv-00809-Y Document 1 Filed 10/08/19                    Page 4 of 8 PageID 4


   or agent was connected to the automated call then greeted Plaintiff and sought to speak

   with Plaintiff attempting to collect Plaintiff’s alleged debt.

33. The telephone dialer system Defendant used to call Plaintiff’s cellular telephone has the

   capacity to store telephone numbers.

34. The telephone dialer system Defendant used to call Plaintiff’s cellular telephone has the

   capacity to call stored telephone numbers automatically.

35. The telephone dialer system Defendant used to call Plaintiff’s cellular telephone has the

   capacity to call stored telephone numbers without human intervention.

36. The telephone dialer system Defendant used to call Plaintiff’s cellular telephone has the

   capacity to call telephone numbers in sequential order.

37. The telephone dialer system Defendant used to call Plaintiff’s cellular telephone has the

   capacity to call telephone numbers randomly.

38. The telephone dialer system Defendant used to call Plaintiff’s cellular telephone selects

   telephone numbers to be called according to a protocol or strategy entered by Defendant.

39. The telephone dialer system Defendant used to call Plaintiff’s cellular telephone dials

   numbers automatically from a list of numbers, with no human intervention involved at the

   time of dialing, and is an automatic telephone dialing system as defined by the Telephone

   Consumer Protection Act, 47 U.S.C. § 227(a)(1) and the Federal Communications

   Commission’s (FCC’s) 2003 Order regarding the TCPA. See In Re Rules & Regulations

   Implementing the Tel. Consumer Prot. Act of 1991, 18 F.C.C. Rcd. 14014, 14092 (2003);

   Ammons v. Ally Financial, Inc., No. 3:17-cv-00505, 2018 WL 3134619 (M.D. Tenn. June

   27, 2018).

40. The telephone dialer system Defendant used to call Plaintiff’s cellular telephone

                                              4
  Case 4:19-cv-00809-Y Document 1 Filed 10/08/19                  Page 5 of 8 PageID 5


   simultaneously calls multiple recipients.

41. Plaintiff will testify that he knew it was an autodialer because of the vast number of calls

   he received and because he heard a pause when he answered his phone before a voice

   came on the line.

42. The dead air that the Plaintiff may have experienced on the calls that he received is

   indicative of the use of an ATDS. This “dead air” is commonplace with autodialing and/or

   predictive dialing equipment. It indicates and evidences that the algorithm(s) being used

   by Defendant’s autodialing equipment to predict when the live human agents are available

   for the next call has not been perfected and/or has not been recently refreshed or updated.

   Thus, resulting in the autodialer placing a call several seconds prior to the human agent’s

   ability to end the current call he or he is on and be ready to accept the new connected call

   that the autodialer placed, without human intervention, to Plaintiff. The dead air is

   essentially the autodialer holding the calls it placed to Plaintiff until the next available

   human agent is ready to accept them. Should the calls at issue been manually dialed by a

   live human being, there would be no such dead air as the person dialing Plaintiff’s cellular

   telephone would have been on the other end of the call the entire time and Plaintiff would

   have been immediately greeted by said person.

43. As a result of Defendant’s alleged violations of law by placing these automated calls to

   Plaintiff’s cellular telephone without prior express consent, Defendant caused Plaintiff

   harm and/or injury such that Article III standing is satisfied in at least the following, if not

   more, ways:

       a.   Invading Plaintiff’s privacy;
       b.   Electronically intruding upon Plaintiff’s seclusion;
       c.   Intrusion into Plaintiff’s use and enjoyment of his cellular telephone;
       d.   Embarrassment, stress, worry, frustration, anger and trespass to chattel (phone);
                                               5
     Case 4:19-cv-00809-Y Document 1 Filed 10/08/19                 Page 6 of 8 PageID 6


          e. Impermissibly occupying minutes and data, draining of cell phone battery,
             negatively impacting Plaintiff’s availability to answer another call, and various
             other intangible rights that Plaintiff has as to complete ownership and use of his
             cellular telephone; and
          f. Causing Plaintiff to expend needless time in receiving, answering, and attempting
             to dispose of Defendant’s unwanted calls.

                              COUNT I
          DEFENDANT VIOLATED THE TEXAS DEBT COLLECTION ACT

   44. Plaintiff repeat and re-allege paragraphs 1-43 of Plaintiff’s Complaint as the allegations in

      Count I of Plaintiff’s Complaint.

   45. Defendant violated the TDCA based on the following:

          a. Defendant violated Tex. Fin. Code §392.302(4) by oppressing, harassing, or

              abusing Plaintiff by causing a telephone to ring repeatedly or continuously, or

              making repeated or continuous telephone calls, with the intent to harass a person

              at the called number, when Defendant continued to call Plaintiff after Plaintiff

              requested for Defendant to stop calling him.

      WHEREFORE, Plaintiff, SHANDON DEATHERAGE, respectfully request judgment be

entered against Defendant, CAPITAL ONE BANK (USA), N.A., for the following:

   46. For statutory damages provided and pursuant to Tex. Fin. Code Ann. § 392.403 and/or Tex.

      Bus. & Com. Code § 17.50(d);

   47. For attorneys’ fees, costs and disbursements;

   48. Injunctive relief pursuant to Tex. Fin. Code Ann. § 392.403(a)(1); and

   49. For any such other and further relief, as well as further costs, expenses and disbursements

      of this action, as this Court may deem just and proper.




                                                 6
     Case 4:19-cv-00809-Y Document 1 Filed 10/08/19                 Page 7 of 8 PageID 7


                             COUNT II
   DEFENDANT VIOLATED THE TELEPHONE CONSUMER PROTECTION ACT

   50. Plaintiff repeat and re-allege paragraphs 1-43 of Plaintiff’s Complaint as the allegations in

      Count II of Plaintiff’s Complaint.

   51. Defendant’s conduct violated the TCPA by:

            a. Placing non-emergency telephone calls to Plaintiff’s cellular telephone using an

               automatic telephone dialing system and/or pre-recorded or artificial voice in

               violation of 47 U.S.C. § 227 (b)(1)(A)(iii).

      WHEREFORE, Plaintiff, SHANDON DEATHERAGE, respectfully request judgment be

entered against Defendant, CAPITAL ONE BANK (USA), N.A., for the following:

   52. As a result of Defendant’s negligent violations of 47 U.S.C. § 227(b)(1), Plaintiff are

      entitled to and request $500.00 in statutory damages, for each and every violation, pursuant

      to 47 U.S.C. § 227(b)(3)(B);

   53. As a result of Defendant’s willful and/or knowing violations of 47 U.S.C. § 227(b)(1),

      Plaintiff are entitled to and request treble damages, as provided by statute, up to $1,500.00,

      for each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. §

      227(b)(3)(C);

   54. Plaintiff are entitled to and seek injunctive relief prohibiting such conduct in the future;

      and

   55. Any other relief that this Honorable Court deems appropriate.




                                                 7
    Case 4:19-cv-00809-Y Document 1 Filed 10/08/19    Page 8 of 8 PageID 8


DATED: October 8, 2019      RESPECTFULLY SUBMITTED,

                            By:_/s/ Michael S. Agruss
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                                     8
